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                                                          Exhibit A to the Complaint
Location: Fairfax, VA                                                                               IP Address: 71.191.61.71
Total Works Infringed: 26                                                                           ISP: Verizon Fios
 Work      Hashes                                                                 UTC        Site         Published      Registered   Registration
 1         Info Hash:                                                             08-25-     Vixen        07-16-2021     09-21-2021   PA0002312673
           454F1DF89C04DC37D4751C74FDA2BD1524A7BF87                               2021
           File Hash:                                                             16:15:44
           5AB87E700F6CE71C5A22ED3D85E819CA76CFCFFEB03C2C9A518AEAEE5BD5BD0C
 2         Info Hash:                                                             08-20-     Tushy        08-15-2021     08-23-2021   PA0002308401
           597A68BEF38F17FE4F779C6408EA4F4CA0B8B361                               2021
           File Hash:                                                             14:22:59
           A83084FEF88410677D300C23064178D200D8D5638DE644CED3C9BA09BB512D35
 3         Info Hash:                                                             07-12-     Tushy        07-11-2021     09-21-2021   PA0002312668
           9DC437C24A1C39ADDF1E9D9C1CB76527E9100402                               2021
           File Hash:                                                             17:23:01
           CD65C7799CB97E0A127916FC4B2E662BE7F04B46D6C8C1CABB97FD9060BB3010
 4         Info Hash:                                                             07-12-     Vixen        07-09-2021     08-20-2021   PA0002312016
           9D1856700B91C39D8A241F97686AB25781DE0068                               2021
           File Hash:                                                             16:59:16
           F23AFB12A245B3128094DEA7643020281A07036BDD7795ED9B72152023839579
 5         Info Hash:                                                             06-29-     Vixen        09-21-2018     11-01-2018   PA0002143417
           8FFED2A7F7AA77020D249E7A6311C6D5A7D97547                               2021
           File Hash:                                                             15:35:42
           635645BD66306827A556824736881431BCF40C345A9E95FE577FB99277BC798C
 6         Info Hash:                                                             06-29-     Vixen        09-26-2018     10-16-2018   PA0002127776
           158258B1A19235075D5BC7E77F3979BEFC8EABAC                               2021
           File Hash:                                                             15:18:38
           037BC9199F675896966EB45A0CD7C67067E44A288EB1A864191DC16D31938F2A
 7         Info Hash:                                                             06-29-     Vixen        10-16-2018     10-28-2018   PA0002130458
           832675DAB93182B2C5E5DA5110D4E3E0660CD182                               2021
           File Hash:                                                             15:03:51
           50A6B55F462056F39EB6959B255BD4E4EC371FF03BE75FBB0B5AD8BDA9585848
 8         Info Hash:                                                             06-28-     Vixen        05-28-2021     08-02-2021   PA0002305093
           14E6018A31BAB755871BD1137D8700E68C62FDB4                               2021
           File Hash:                                                             22:49:24
           494136C049FA13A99C0A1626FBF651B64EA15A14FE000396351796E55FCC0234
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Work   Hashes                                                             UTC        Site    Published    Registered   Registration
9      Info Hash:                                                         06-28-     Vixen   10-06-2018   11-01-2018   PA0002141493
       EAA8A5DEE2A6FFFBA8FF49131DB25753F03B98C4                           2021
       File Hash:                                                         22:33:03
       A32EF96786F0FB121A68B17D95A6BDDB8335CA2F13438793D86B0C22C4D79687
10     Info Hash:                                                         06-28-     Vixen   01-29-2020   02-20-2020   PA0002229058
       FF16D5C558E22B9BA334778EF92DDCAC4B9C219F                           2021
       File Hash:                                                         22:15:14
       0A6AC3A4977BD540B7DF072701AB010EE0AFC960275C3F4BBE458E3B8FAEF669
11     Info Hash:                                                         06-28-     Vixen   02-23-2019   04-29-2019   PA0002169931
       7C99E492EC61646CED06952C682B68AACFCD7C33                           2021
       File Hash:                                                         22:13:32
       7065F8A4A31E575DD63240B683BF3D1777AFE7B881F5FD81849D9BD1F9CE80DA
12     Info Hash:                                                         06-28-     Vixen   05-24-2019   07-17-2019   PA0002188303
       D953E392C297913CDBDFCE65BCF4DF39F6D492E1                           2021
       File Hash:                                                         22:12:06
       0ED72D2222E7721033B25678879CBA2CBB194E14288295CB78F4A1D3B97268A3
13     Info Hash:                                                         06-28-     Vixen   04-30-2021   06-03-2021   PA0002299685
       9BC774ABF2603AC833ACCD5C88C3804A78D8A297                           2021
       File Hash:                                                         22:01:42
       F81974D573968FAA06B4468C16023F5A98CF8B60DA6C3FB454746736781F6FF7
14     Info Hash:                                                         06-28-     Vixen   10-26-2018   12-10-2018   PA0002145824
       1F3C71A8C75CE5A96C4CDFC55B75C9DBFE80BA96                           2021
       File Hash:                                                         22:01:34
       52865408104AC768530DEA3C59663B162044009E55011D199911AD3138B2005F
15     Info Hash:                                                         06-28-     Vixen   03-19-2021   04-14-2021   PA0002286735
       A7BCD80A324952706C46C6614807A6D331A8E3B6                           2021
       File Hash:                                                         21:55:12
       69C65B35E7C5DD71106A07F56B806E7F394E94E510E5727A598B56F035E8EDCD
16     Info Hash:                                                         06-28-     Vixen   01-04-2020   01-27-2020   PA0002223959
       728FEEBA350EC584BC7E9E2759A64F759E9B7855                           2021
       File Hash:                                                         21:54:51
       AD5470EFA8A5C85886C8855DB48558326273F73168397DFFC88EE5E6B5BB1A2A
17     Info Hash:                                                         06-28-     Vixen   07-08-2019   09-10-2019   PA0002199411
       AB6F5DDED2290838AD429C5C8048ECD822E37AFC                           2021
       File Hash:                                                         21:50:55
       E3929017009B2C9EFC94F419309B16346A86AAE8361D5BA626E7E98131473127
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Work   Hashes                                                             UTC        Site    Published    Registered   Registration
18     Info Hash:                                                         06-28-     Vixen   07-24-2020   08-03-2020   PA0002259166
       CF200D8754F2C358A35BC087A3A9B21F3D7087C1                           2021
       File Hash:                                                         21:50:08
       498BD96165111E7484DBA92321D6D173186C2C79354BCB6CB834BE0D70745559
19     Info Hash:                                                         06-28-     Vixen   05-14-2021   06-03-2021   PA0002299686
       80DA686CB2BD4A8751E64E5F9A76F64E2913A44D                           2021
       File Hash:                                                         21:45:00
       B40F7BFC1A8932ADCDAFAB881E4D6E84218488CC78D5F18FA85FEA042ECC6203
20     Info Hash:                                                         06-28-     Vixen   04-16-2021   06-09-2021   PA0002295602
       F79ED94190ADC5734573AA4A13934FF9627357CD                           2021
       File Hash:                                                         21:44:52
       D1EE25645FFFE8CB3A087B21142C117B49FF62A9524BE31CFEC31B956B960361
21     Info Hash:                                                         06-28-     Vixen   08-22-2019   09-17-2019   PA0002216215
       EC977E2980F8945172E61F868899C59CE850C90F                           2021
       File Hash:                                                         21:31:55
       2CAF72B451343F7CC925C036751DD13BDF8A0C8A3BCAB07649DFE27376516005
22     Info Hash:                                                         06-28-     Vixen   05-09-2019   06-03-2019   PA0002178768
       84A2DA2B5B8B40832873EAF3064B0224D3AA0A4D                           2021
       File Hash:                                                         21:26:27
       24CF9A748B31970324ABC18B103B89AB6C07A2814A6C10ED174FE47A658CA9BF
23     Info Hash:                                                         06-28-     Vixen   06-28-2019   08-27-2019   PA0002213233
       425B69EBF37AF69ECEF370C54A0B8F23AB28C401                           2021
       File Hash:                                                         21:23:28
       7C0FB3C1BB3F1DF8CAAC603A4D2F6E76DC9BDB04138DC2CBABB665BADAE3B47B
24     Info Hash:                                                         06-24-     Vixen   11-27-2020   11-30-2020   PA0002266359
       5CDBC938026E69BB0AB5095CBDA1D40272137848                           2021
       File Hash:                                                         21:22:36
       C244D99BE64B196FC48133456B2307AF2C9238C3A25D97D2027E48D309FCEA88
25     Info Hash:                                                         06-24-     Vixen   11-20-2019   12-09-2019   PA0002216255
       C66CB7D5D924FC8D5C68C719745BB62596B66AFD                           2021
       File Hash:                                                         20:33:13
       031ACED7B2C24AB488358162A8C9D1CB410F3313AFF7A11A596876477EFD2BB9
26     Info Hash:                                                         02-20-     Vixen   05-08-2020   06-08-2020   PA0002243645
       742AF2F1665E249C6B38B901A8628DE9BAB8B6D7                           2021
       File Hash:                                                         07:57:59
       30E6E3F9E5E3E25B779502BB10FEAE6493CC386E37511B0BE46812D0561F4900
